  NOT FOR PUBLICATION IN WEST'S HAWAI I REPORTS AND PACIFIC REPORTER




                                            Electronically Filed
                                            Intermediate Court of Appeals
                                            CAAP-XX-XXXXXXX
                                            21-AUG-2024
                                            08:02 AM
                                            Dkt. 71 OGMD


                          NO. CAAP-XX-XXXXXXX


                 IN THE INTERMEDIATE COURT OF APPEALS

                        OF THE STATE OF HAWAI I


               STUART B. GLAUBERMAN and VICKY RAMIL,
         Plaintiffs/Counterclaim Defendants-Appellees, v.
    CELESTE M. GONSALVES, Defendant/Counterclaimant-Appellant


          APPEAL FROM THE DISTRICT COURT OF THE FIRST CIRCUIT
                           KĀNE OHE DIVISION
                      (CIVIL NO. 1DRC-XX-XXXXXXX)


           ORDER GRANTING IN PART MOTION TO DISMISS APPEAL
   (By:    Leonard, Acting Chief Judge, Hiraoka and Guidry, JJ.)
             Upon consideration of self-represented Defendant/

Counterclaimant-Appellant Celeste M. Gonsalves's (Gonsalves)

July 26, 2024 Motion To Extend Time to File Opening Brief and

August 5, 2024 Motion To Dismiss Appeal As Moot And Remand To

Honolulu District Court, the papers in support and the record,

             IT IS HEREBY ORDERED that Gonsalves's July 26, 2024

Motion To Extend Time to File Opening Brief is denied, because

her request to dismiss her appeal is being granted.

             IT IS FURTHER ORDERED that Gonsalves's August 5, 2024

Motion To Dismiss Appeal As Moot And Remand To Honolulu District

Court is granted in part and denied in part.      The appeal is
  NOT FOR PUBLICATION IN WEST'S HAWAI I REPORTS AND PACIFIC REPORTER

dismissed without prejudice to Gonsalves requesting relief in the

district court.1     All other relief requested is denied.

           DATED:    Honolulu, Hawai i, August 21, 2024.

                                          /s/ Katherine G. Leonard
                                          Acting Chief Judge

                                          /s/ Keith K. Hiraoka
                                          Associate Judge

                                          /s/ Kimberly T. Guidry
                                          Associate Judge




     1
         Although Gonsalves' August 5, 2024 motion refers to the Honolulu
District Court, it appears the case is pending in the Kāne ohe Division.

                                      2
